       Case 2:14-cr-00109-TLN Document 33 Filed 06/02/15 Page 1 of 3


1    HEATHER E. WILLIAMS, #122664
     Federal Defender
2    MICHAEL PETRIK, Jr., #177913
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, CA 95814
4    Telephone: (916) 498-5700
5    Attorneys for Defendant
     PANG SHOUA XIONG
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7
8                                       UNITED STATES DISTRICT COURT
9                                      EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                      )   Case No. 2:14-cr-109 TLN
                                                    )
11                              Plaintiff,          )   STIPULATION AND ORDER TO CONTINUE
                                                    )   CHANGE OF PLEAS HEARING TO JULY 2,
12          v.                                      )   2015 AT 9:30 A.M.
                                                    )
13   PANG SHOUA XIONG,                              )   Date: June 4, 2015
     KEO SENG SAECHAO,                              )   Time: 9:30 a.m.
14                                                  )   Judge: Hon. Troy L. Nunley
                                Defendants.         )
15                                                  )
16             The parties stipulate, through respective counsel, that the Court should continue the
17   change of pleas hearing set for June 4, 2015, at 9:30 a.m., to July 2, 2015, at 9:30 a.m.
18             Defense counsel require the continuance to consult with their clients about discovery, and
19   to conduct investigation. Defense counsel require further time to meet and consult with each
20   other. The parties also require further time to engage in negotiations with the government.
21             Counsel and the defendants agree that the Court should exclude the time from the date of
22   this order through July 2, 2015, when it computes the time within which trial must commence
23   under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
24   ///
25   ///
26   ///
27   ///
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      Stipulation to Continue                           -1-                                      14-cr-109 TLN
        Case 2:14-cr-00109-TLN Document 33 Filed 06/02/15 Page 2 of 3


1              Counsel and the defendants also agree that the ends of justice served by the Court
2    granting this continuance outweigh the best interests of the public and the defendants in a speedy
3    trial.

4    DATED: June 2, 2015                            HEATHER E. WILLIAMS
                                                    Federal Defender
5
                                                    /s/ M.Petrik__________
6                                                   MICHAEL PETRIK, Jr.
7                                                   Assistant Federal Defender
                                                    Attorneys for Pang Shoua Xiong
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     DATED: June 2, 2015
9
                                                    /s/ M.Petrik for_______
10
                                                    DUSTIN JOHNSON
11                                                  Attorney for Keo Seng Saechao

12   DATED: June 2, 2015                            BENJAMIN B. WAGNER
                                                    United States Attorney
13
14                                                  /s/ M.Petrik for_______
                                                    MATTHEW MORRIS
15                                                  Assistant U.S. Attorney

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      Stipulation to Continue                         -2-                                     14-cr-109 TLN
       Case 2:14-cr-00109-TLN Document 33 Filed 06/02/15 Page 3 of 3


1                                                 ORDER
2              The Court, having received, read, and considered the stipulation of the parties, and good
3    cause appearing, adopts the stipulation in its entirety as its order. The Court specifically finds
4    that the failure to grant a continuance in this case would deny defense counsel reasonable time
5    necessary for effective preparation, taking into account the exercise of due diligence. The Court
6    finds that the ends of justice served by granting the continuance outweigh the best interests of the
7    public and defendants in a speedy trial.
8              The Court orders the change of pleas hearing rescheduled for July 2, 2015, at 9:30 a.m.
9    The Court orders the time from the date of the this order, up to and including July 2, 2015,
10   excluded from computation of time within which the trial of this case must commence under the
11   Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7), and Local Code T4.
12   DATED: June 2, 2015
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15                                                       Troy L. Nunley
                                                         United States District Judge
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      Stipulation to Continue                          -3-                                     14-cr-109 TLN
